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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


JOHN DOE,                                   : Civil Action No. 2:17-CV-01574
                                            :
                Plaintiff,                  :
                                            : Judge Mark R. Hornak
       v.                                   :
                                            :
CARNEGIE MELLON UNIVERSITY,                 :
                                            :
                Defendant.                  :
                                            :


                             NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff John Doe, by his counsel LEECH TISHMAN FUSCALDO & LAMPL, LLC, hereby

voluntarily dismisses this action, without prejudice, pursuant to Federal Rule of Civil

Procedure41(a)(1)(A)(i). Defendant Carnegie Mellon University has not filed an answer, a

motion for summary judgment, or other responsive pleading to Plaintiff’s Complaint. Pursuant to

Federal Rule of Civil Procedure 41(a)(1)(B), the dismissal of this action is without prejudice.




Dated: May 25, 2018                          Respectfully submitted,

                                             LEECH TISHMAN FUSCALDO & LAMPL, LLC
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